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ELIZABETH D'ELIA, on behalf of herself and a
Class ,

Plaintiff, Case No.: 07-CV-6042
v. Judge: John W. Darrah

FIRST CAPITAL, LLC; LAW OFFICE GF
KEITH S. SHINDLER, LTD; and KEITH S.
SHINDLER,

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] Magistrate ludge Cole
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Det`endant.

PRELIMINARY APPROVAL QRDER

This matter coming before the Court on the Parties’ loint Motion for Prelirninary Approval
ot` a Class Settlernent Agreernent (“Agreement”) between Plaintif`t`, Elizabeth D'Elia (“Plaintit`f”)
and Defendants, First Capital, LLC (“First Capital"’); Law Office of Keith S. Shindler, Ltd.
(“Shindler Ltd.”); and Keith S. Shindler (“Shindler”)(collectively “Defendants") and notice to the
class, the Court being fully advised in the premises,

IT IS HEREBY ORDERED:

l . The Court finds that the proposed Settlement and Release, the terms of which
are full§,r set for the in the Agreernent, is within the range of fairness and reasonableness and grants
preliminary approval to it.

2. F or the purposes of settlement, the parties stipulate to the certification of the
class defined as follows:

(a) All natural persons (b) whom had a lawsuit filed against them by SHINDLER LTD.

(c) on behalf of FIRS'I` CAPl'l`AL (d) in Wbich attorneys' fees were sought (e) where
said lawsuits were filed between October 25, 2006 to Novernber 14, 2007.

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The class described above includes approximately 161 personsl Edelman, Combs, Latturner &
Goodwin., LLC is appointed as class counsel.

3. A hearing on the fairness and reasonableness of the Agreement and whether final
approval shall be given to it and the requests for fees and expenses by counsel for the class will be
held before this Court on December ll, 2008 at 9:00 a.m.

4. The Court approves the proposed form of notice to the class, to be directed to the last
known address of the class members as shown on Defendants’ records Defendants shall mail, or
cause to be mailed, notice to class members on or before October 18, 2008. Defendants shall have
the notice sent by any form of bulk mail that provides address forwarding mail to each address
Defendants shall re-mail any notice that is returned with a forwarding address Defendants shall also
cause the settlement checks to be distributed

5. The Court finds that the mailing of the class notice is the only notice required and that
such notice satisfies the requirements of due process and Fed. R. Civ. P. 23(c)(2)(B).

6. Class members shall have until December 2, 2008 (45 days from initial mailing) to
opt out or object to the proposed settlement. Any class members desiring to exclude themselves
from the action must file their request for exclusion with the C`lerk of the United District Court for
the Northem District of Illinois, Eastern Division and serve copies of the request on counsel for both
Plaintiff and Defendants by that date. Any class members who wish to object to the settlement must
submit an objection in writing to the Clerlc of the United States District Court for the l'~lorthern
District of Illinois, Eastem Division, and serve copies of the objection on counsel for Plaintiff and
Defendants by that datc. Any objection must include the name and number of the case and a
statement of the reasons why the objector believes that the Court should find that the proposed

settlement is not in the best interests of the class. Obj ectors who have filed written objections to the

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settlement may also appear at the hearing and be heard on the fairness of the settlement

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The Honorable .ludge Darrah
United States District .ludge

 

 

